             Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 1 of 33




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    Tug Robert J. Bouchard, Corporation,1                           )     Case No. 20-34758 (DRJ)
                                                                    )
                     Post-Effective Date Debtor.                    )
                                                                    )     (Formerly Jointly Administered Under
                                                                    )     Lead Case: Bouchard Transportation
                                                                    )     Co., Inc., 20-34682)

       ORDER SUSTAINING POST-EFFECTIVE DATE DEBTOR’S THIRD OMNIBUS
         OBJECTION TO CERTAIN PROOFS OF CLAIM (MODIFIED CLAIMS,
        MISCLASSIFIED CLAIMS, FULLY OR PARTIALLY SATISFIED CLAIMS,
                DUPLICATE CLAIMS, AND NO LIABILITY CLAIMS)

             Upon the objection (the “Objection”)2 of the post-effective date debtor in the

above-captioned chapter 11 cases (collectively, prior to the Effective Date, the “Debtors,” and after

the Effective Date, the “Post-Effective Date Debtor”) seeking entry of an order (this “Order”)

sustaining the Post-Effective Date Debtor’s Third Omnibus Objection to Certain Proofs of Claim

(Modified Claims, Misclassified Claims, Fully Or Partially Satisfied Claims, Duplicate Claims,

And No Liability Claims) modifying the Subject Claims identified on Exhibit A–E attached

hereto, all as more fully set forth in the Objection; and this Court having found that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408


1     Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtor entities and the last
      four digits of their federal tax identification numbers is not provided herein. A complete list may be obtained on
      the website of the Debtors’ claims and noticing agent at https://cases.stretto.com/bouchard. The location of the
      Debtors’ or Post-Effective Date Debtor’s service address is: c/o Portage Point Partners, LLC, 300 North LaSalle,
      Suite 1420, Chicago, Illinois 60654.

2      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Objection.
          Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 2 of 33




and 1409; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b);

and this Court having found that the relief requested in the Objection is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Post-Effective Date Debtor’s notice of the Objection and opportunity for a hearing thereon were

appropriate and no other notice need be provided; and this Court having reviewed the Objection

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Objection and at the Hearing establish just cause for the relief granted herein; and upon the

Gasbarra Declaration; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

          1.    Any response to the Objection not otherwise withdrawn, resolved, or adjourned is

hereby overruled on its merits.

          1.    Each Modified Claim identified on Exhibit A attached hereto is modified and

reclassified to the extent provided in the “Modified Status” column on Exhibit A to this order;

provided that the Post-Effective Date Debtor reserves the right to object to the Modified Claims

on any applicable grounds.

          2.    The priority classification of each Misclassified Claim listed on Exhibit B attached

hereto is hereby modified as reflected in the “Modified Status” column of Exhibit B attached

hereto.

          3.    The Fully or Partially Satisfied Claims listed on Exhibit C attached hereto are

hereby reduced or disallowed in their entirety, as applicable.

          4.    The Duplicate Claim listed on Exhibit D attached hereto is hereby disallowed in

its entirety.



                                                  2
       Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 3 of 33




       5.      The No Liability Claims listed on Exhibit E attached hereto are hereby modified

as reflected in the “Modified Status” column of Exhibit E or disallowed in their entirety, as

applicable.

       6.      Stretto, as claims, noticing, and solicitation agent, is authorized and directed to

update the claims register maintained in these chapter 11 cases to reflect the relief granted in

this Order.

       7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other party in

interest’s right to dispute and object to any claim on any grounds, including any claim identified

in a “Modified Status” column of Exhibits A–E attached hereto; (c) a promise or requirement to

pay any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Objection or any order granting the relief requested by this Objection;

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; or (f) a waiver of the Post-Effective Date Debtor’s rights

under the Bankruptcy Code or any other applicable law.

       8.      The Post-Effective Date Debtor is authorized to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Objection.

       9.      Notwithstanding any applicable Bankruptcy Rule or Bankruptcy Local Rule, the

terms and conditions of this Order shall be immediately effective and enforceable upon its entry.




                                                 3
      Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 4 of 33




       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated: ___________, 2021

                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




                                                 4
Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 5 of 33




                            Exhibit A

                         Modified Claims
                                                                                                                                    Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 6 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

   1             369          507 Summit LLC                                      Tug Danielle M. Bouchard Corporation                   Secured:           $50,504.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $42,800.00
                                                                                                                                         Total:             $50,504.00    Total:             $42,800.00



   2             480          507 Summit LLC                                      Tug Bouchard Girls Corp.                               Secured:           $12,842.03    Secured:                $0.00   Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                   Debtors' books and records. The Debtors' books and records show that the liability
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $12,696.87                                   associated with invoice #711937 is less than what is reflected in the Proof of Claim.
                                                                                                                                         Total:             $12,842.03    Total:             $12,696.87



   3             339          Peak Credit LLC                                     Tug Morton S. Bouchard IV Corporation                  Secured:           $47,850.40    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $47,060.00
                                                                                                                                         Total:             $47,850.40    Total:             $47,060.00



   4             343          Peak Credit LLC                                     Tug Danielle M. Bouchard Corporation                   Secured:          $259,684.00    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $236,010.00
                                                                                                                                         Total:            $259,684.00    Total:           $236,010.00



   5             347          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:            $5,335.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,850.00
                                                                                                                                         Total:              $5,335.00    Total:              $4,850.00



   6             349          Peak Credit LLC                                     Tug Jane A. Bouchard Corporation                       Secured:            $1,400.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $1,250.00
                                                                                                                                         Total:              $1,400.00    Total:              $1,250.00



   7             354          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $29,120.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $26,000.00
                                                                                                                                         Total:             $29,120.00    Total:             $26,000.00



   8             355          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:           $54,505.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $49,550.00
                                                                                                                                         Total:             $54,505.00    Total:             $49,550.00




                                                                                                                                                                         Page 1 of 24
                                                                                                                                    Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 7 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

   9             357          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $81,900.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $73,125.00
                                                                                                                                         Total:             $81,900.00    Total:             $73,125.00



  10             358          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:            $1,540.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $1,400.00
                                                                                                                                         Total:              $1,540.00    Total:              $1,400.00



  11             359          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $39,545.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $35,950.00
                                                                                                                                         Total:             $39,545.00    Total:             $35,950.00



  12             244          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $63,184.44    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $51,797.64
                                                                                                                                         Total:             $63,184.44    Total:             $51,797.64



  13             256          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $18,830.22    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,104.00
                                                                                                                                         Total:             $18,830.22    Total:             $16,104.00



  14             283          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $21,334.19    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,779.00
                                                                                                                                         Total:             $21,334.19    Total:             $16,779.00



  15             286          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $95,295.82    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $77,317.00
                                                                                                                                         Total:             $95,295.82    Total:             $77,317.00



  16             293          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $51,738.50    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $43,700.00
                                                                                                                                         Total:             $51,738.50    Total:             $43,700.00




                                                                                                                                                                         Page 2 of 24
                                                                                                                                    Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 8 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  17             304          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $18,767.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $15,471.15
                                                                                                                                         Total:             $18,767.00    Total:             $15,471.15



  18             314          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:            $5,980.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,600.00
                                                                                                                                         Total:              $5,980.00    Total:              $4,600.00



  19             291          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,376.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,376.00    Total:              $4,800.00



  20             303          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $22,735.50    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $22,087.50
                                                                                                                                         Total:             $22,735.50    Total:             $22,087.50



  21             254          Peak Credit LLC                                     B No. 215 Corporation                                  Secured:            $7,056.48    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $5,905.00
                                                                                                                                         Total:              $7,056.48    Total:              $5,905.00



  22             255          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $30,566.20    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $23,815.00
                                                                                                                                         Total:             $30,566.20    Total:             $23,815.00



  23             245          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $38,748.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $33,600.00
                                                                                                                                         Total:             $38,748.00    Total:             $33,600.00



  24             289          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $95,652.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $79,200.00
                                                                                                                                         Total:             $95,652.00    Total:             $79,200.00




                                                                                                                                                                         Page 3 of 24
                                                                                                                                    Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 9 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  25             292          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,808.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,808.00    Total:              $4,800.00



  26             249          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $16,071.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $13,200.00
                                                                                                                                         Total:             $16,071.00    Total:             $13,200.00



  27             257          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $15,724.50    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $13,200.00
                                                                                                                                         Total:             $15,724.50    Total:             $13,200.00



  28             271          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:            $7,632.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,200.00
                                                                                                                                         Total:              $7,632.00    Total:              $7,200.00



  29             284          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $44,489.84    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $34,718.75
                                                                                                                                         Total:             $44,489.84    Total:             $34,718.75



  30             288          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $18,925.50    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,500.00
                                                                                                                                         Total:             $18,925.50    Total:             $16,500.00



  31             294          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $42,847.63    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $36,125.00
                                                                                                                                         Total:             $42,847.63    Total:             $36,125.00



  32             308          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:           $16,755.75    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,850.00
                                                                                                                                         Total:             $16,755.75    Total:             $14,850.00




                                                                                                                                                                         Page 4 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 10 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  33             324          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:              $681.00    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $600.00
                                                                                                                                         Total:                $681.00    Total:               $600.00



  34             330          Peak Credit LLC                                     Tug Jane A. Bouchard Corporation                       Secured:              $209.00    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $200.00
                                                                                                                                         Total:                $209.00    Total:               $200.00



  35             247          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $17,856.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,400.00
                                                                                                                                         Total:             $17,856.00    Total:             $14,400.00



  36             287          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $23,831.83    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $19,275.46
                                                                                                                                         Total:             $23,831.83    Total:             $19,275.46



  37             295          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,664.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,664.00    Total:              $4,800.00



  38             506          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:          $242,695.32    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $174,300.00
                                                                                                                                         Total:            $242,695.32    Total:           $174,300.00



  39             515          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:           $40,101.12    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $28,800.00
                                                                                                                                         Total:             $40,101.12    Total:             $28,800.00



  40             248          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:          $263,753.25    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $211,650.00
                                                                                                                                         Total:            $263,753.25    Total:           $211,650.00




                                                                                                                                                                         Page 5 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 11 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  41             285          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $32,183.25    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $24,900.00
                                                                                                                                         Total:             $32,183.25    Total:             $24,900.00



  42             290          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:          $309,320.25    Secured:               $0.00    Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $249,000.00
                                                                                                                                         Total:            $309,320.25    Total:           $249,000.00



  43             296          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $66,655.50    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $54,600.00
                                                                                                                                         Total:             $66,655.50    Total:             $54,600.00



  44             309          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:           $41,952.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $33,600.00
                                                                                                                                         Total:             $41,952.00    Total:             $33,600.00



  45             366          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:            $9,761.21    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,871.94
                                                                                                                                         Total:              $9,761.21    Total:              $7,871.94



  46             367          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:            $4,893.12    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $3,852.85
                                                                                                                                         Total:              $4,893.12    Total:              $3,852.85



  47             382          Peak Credit LLC                                     Tug Evening Breeze Corp.                               Secured:            $9,758.24    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,880.53
                                                                                                                                         Total:              $9,758.24    Total:              $7,880.53



  48             384          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:           $22,984.21    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $19,478.14
                                                                                                                                         Total:             $22,984.21    Total:             $19,478.14




                                                                                                                                                                         Page 6 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 12 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  49             387          Peak Credit LLC                                     Tug Kim M. Bouchard Corp.                              Secured:               $18.70    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:             $15.08
                                                                                                                                         Total:                 $18.70    Total:                 $15.08



  50             250          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:            $5,445.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,500.00
                                                                                                                                         Total:              $5,445.00    Total:              $4,500.00



  51             258          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $10,620.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $9,000.00
                                                                                                                                         Total:             $10,620.00    Total:              $9,000.00



  52             316          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:           $30,915.00    Secured:                $0.00   Claim amount to be reduced.     The Plan Administrator objects to the interest because the claim does not include a
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   basis for charging interest.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $27,000.00
                                                                                                                                         Total:             $30,915.00    Total:             $27,000.00



  53             395          Peak Credit LLC                                     Tug Morton S. Bouchard IV Corporation                  Secured:            $6,385.90    Secured:                $0.00   Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                   Debtors' books and records. The Debtors' books and records show that invoice #36815
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $6,042.90                                   was billed in excess of the amount specified in the purchase order.
                                                                                                                                         Total:              $6,385.90    Total:              $6,042.90



  54             306          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:          $124,339.21    Secured:                $0.00   Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                   Debtors' books and records. The Debtors' books and records show that the liability
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $99,214.95                                   associated with invoice #16013343 is less than what is reflected in the Proof of Claim.
                                                                                                                                         Total:            $124,339.21    Total:             $99,214.95                                   The Plan Administrator also objects to the interest because the claim does not include a
                                                                                                                                                                                                                                          basis for charging interest.


  55             305          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:          $271,254.86    Secured:               $0.00    Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                    based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:              $0.00                                    Debtors' books and records. The Debtors' books and records show that the liability
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $218,019.00                                    associated with invoice #22046437 is less than what is reflected in the Proof of Claim.
                                                                                                                                         Total:            $271,254.86    Total:           $218,019.00                                    The Plan Administrator also objects to the interest because the claim does not include a
                                                                                                                                                                                                                                          basis for charging interest.


  56             370          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:           $31,069.95    Secured:                $0.00   Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                   based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                   Debtors' books and records. The Debtors' books and records show that invoice
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $20,293.64                                   #7000179 was billed in excess of the amount specified in the purchase order. The Plan
                                                                                                                                         Total:             $31,069.95    Total:             $20,293.64                                   Administrator also objects to the interest because the claim does not include a basis for
                                                                                                                                                                                                                                          charging interest.




                                                                                                                                                                         Page 7 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 13 of 33




                                                                                                                                                                                                                                                                           In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                          Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                  Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                        Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  57             374          Peak Credit LLC                                     B. No. 295 Corp.                                       Secured:           $73,395.98    Secured:                $0.00     Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                     based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                     Debtors' books and records. The Debtors' books and records show that purchase order
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $50,807.80                                     for invoice #6905853 was cancelled by the Debtors' purchasing / accounting
                                                                                                                                         Total:             $73,395.98    Total:             $50,807.80                                     department. The Plan Administrator also objects to the interest because the claim does
                                                                                                                                                                                                                                            not include a basis for charging interest.


  58             377          Peak Credit LLC                                     Tug Bouchard Girls Corp.                               Secured:            $4,231.71    Secured:                 $0.00    Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                   $0.00                                    based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:                $0.00                                    Debtors' books and records. The Plan Administrator also objects to the interest because
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $2,758.23                                    the claim does not include a basis for charging interest.
                                                                                                                                         Total:              $4,231.71    Total:               $2,758.23



  59             379          Peak Credit LLC                                     Tug Danielle M. Bouchard Corporation                   Secured:           $24,039.68    Secured:                $0.00     Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                     based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                     Debtors' books and records. The Debtors' books and records show that purchase order
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,376.93                                     for invoice #6838913 was cancelled by the Debtors' purchasing / accounting
                                                                                                                                         Total:             $24,039.68    Total:             $14,376.93                                     department. The Plan Administrator also objects to the interest because the claim does
                                                                                                                                                                                                                                            not include a basis for charging interest.


  60             391          Peak Credit LLC                                     Bouchard Transportation Co., Inc.                      Secured:           $46,119.19    Tug Bouchard Girls Corp.          Claim amount to be reduced.     The Claim should be reduced to the amount specified in the "Modified Status" column
                                                                                                                                         Admin:                  $0.00    Secured:                 $0.00                                    based on the support provided by the Claimant in their filed proof of claim and the
                                                                                                                                         Priority:               $0.00    Admin:                   $0.00                                    Debtors' books and records. The Debtors' books and records show that invoice
                                                                                                                                         Unsecured:              $0.00    Priority:                $0.00                                    #6994505 was billed in excess of the amount specified in the purchase order. The Plan
                                                                                                                                         Total:             $46,119.19    Unsecured:            $108.75                                     Administrator also objects to the interest because the claim does not include a basis for
                                                                                                                                                                          Total:                $108.75                                     charging interest.


                                                                                                                                                                          Tug Evening Star Corp.
                                                                                                                                                                          Secured:                $0.00
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:         $12,000.00
                                                                                                                                                                          Total:             $12,000.00

                                                                                                                                                                          B No. 272 Corp.
                                                                                                                                                                          Secured:             $1,505.00
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:               $1,505.00

                                                                                                                                                                          Tug Frederick E. Bouchard Corp.
                                                                                                                                                                          Secured:             $8,593.16
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:               $8,593.16

                                                                                                                                                                          B. No. 240 Corp.
                                                                                                                                                                          Secured:           $11,540.70
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:              $0.00
                                                                                                                                                                          Total:             $11,540.70




                                                                                                                                                                         Page 8 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 14 of 33




                                                                                                                                                                                                                                            In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                           Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit A

                                                                                                                                                           Modified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                   Basis for Objection: See Paragraph 14 and 15 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status            Proposed Treatment                Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                                                          Tug Ellen S. Bouchard Corp.
                                                                                                                                                                          Secured:                $25.00
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:                  $25.00




                                                                                                                                                Claim Status                    Modified Status
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                         Secured:        $2,947,878.48    Secured:           $21,663.86
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:      $2,385,808.11
                                                                                                                                         Total:          $2,947,878.48    Total:          $2,407,471.97




                                                                                                                                                                         Page 9 of 24
Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 15 of 33




                             Exhibit B

                        Misclassified Claims
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 16 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                 Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  61             369          507 Summit LLC                                      Tug Danielle M. Bouchard Corporation                   Secured:           $50,504.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $42,800.00
                                                                                                                                         Total:             $50,504.00    Total:             $42,800.00



  62             480          507 Summit LLC                                      Tug Bouchard Girls Corp.                               Secured:           $12,842.03    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $12,696.87
                                                                                                                                         Total:             $12,842.03    Total:             $12,696.87



  63             505          507 Summit LLC                                      B No. 252 Corp.                                        Secured:               $18.73    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:             $18.73
                                                                                                                                         Total:                 $18.73    Total:                 $18.73



  64             503          507 Summit LLC                                      B No. 210 Corporation                                  Secured:              $208.80    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $208.80
                                                                                                                                         Total:                $208.80    Total:               $208.80



  65             378          507 Summit LLC                                      B No. 245 Corporation                                  Secured:           $29,008.98    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $29,008.98
                                                                                                                                         Total:             $29,008.98    Total:             $29,008.98



  66             490          507 Summit LLC                                      B No. 245 Corporation                                  Secured:            $1,181.66    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $1,181.66
                                                                                                                                         Total:              $1,181.66    Total:              $1,181.66



  67             484          507 Summit LLC                                      B No. 270 Corp.                                        Secured:            $7,724.13    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,724.13
                                                                                                                                         Total:              $7,724.13    Total:              $7,724.13



  68             502          507 Summit LLC                                      B. No. 295 Corp.                                       Secured:              $206.27    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $206.27
                                                                                                                                         Total:                $206.27    Total:               $206.27




                                                                                                                                                                         Page 10 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 17 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                 Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  69             500          507 Summit LLC                                      Tug Jane A. Bouchard Corporation                       Secured:              $600.06    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $600.06
                                                                                                                                         Total:                $600.06    Total:               $600.06



  70             339          Peak Credit LLC                                     Tug Morton S. Bouchard IV Corporation                  Secured:           $47,850.40    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $47,060.00
                                                                                                                                         Total:             $47,850.40    Total:             $47,060.00



  71             343          Peak Credit LLC                                     Tug Danielle M. Bouchard Corporation                   Secured:          $259,684.00    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $236,010.00
                                                                                                                                         Total:            $259,684.00    Total:           $236,010.00



  72             347          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:            $5,335.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,850.00
                                                                                                                                         Total:              $5,335.00    Total:              $4,850.00



  73             349          Peak Credit LLC                                     Tug Jane A. Bouchard Corporation                       Secured:            $1,400.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $1,250.00
                                                                                                                                         Total:              $1,400.00    Total:              $1,250.00



  74             354          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $29,120.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $26,000.00
                                                                                                                                         Total:             $29,120.00    Total:             $26,000.00



  75             355          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:           $54,505.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $49,550.00
                                                                                                                                         Total:             $54,505.00    Total:             $49,550.00



  76             357          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $81,900.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $73,125.00
                                                                                                                                         Total:             $81,900.00    Total:             $73,125.00




                                                                                                                                                                         Page 11 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 18 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
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total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  77             358          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:            $1,540.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $1,400.00
                                                                                                                                         Total:              $1,540.00    Total:              $1,400.00



  78             359          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $39,545.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $35,950.00
                                                                                                                                         Total:             $39,545.00    Total:             $35,950.00



  79             244          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $63,184.44    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $51,797.64
                                                                                                                                         Total:             $63,184.44    Total:             $51,797.64



  80             256          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $18,830.22    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,104.00
                                                                                                                                         Total:             $18,830.22    Total:             $16,104.00



  81             283          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $21,334.19    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,779.00
                                                                                                                                         Total:             $21,334.19    Total:             $16,779.00



  82             286          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $95,295.82    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $77,317.00
                                                                                                                                         Total:             $95,295.82    Total:             $77,317.00



  83             293          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $51,738.50    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $43,700.00
                                                                                                                                         Total:             $51,738.50    Total:             $43,700.00



  84             304          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $18,767.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $15,471.15
                                                                                                                                         Total:             $18,767.00    Total:             $15,471.15




                                                                                                                                                                         Page 12 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 19 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
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   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  85             314          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:            $5,980.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,600.00
                                                                                                                                         Total:              $5,980.00    Total:              $4,600.00



  86             291          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,376.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,376.00    Total:              $4,800.00



  87             303          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:           $22,735.50    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $22,087.50
                                                                                                                                         Total:             $22,735.50    Total:             $22,087.50



  88             254          Peak Credit LLC                                     B No. 215 Corporation                                  Secured:            $7,056.48    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $5,905.00
                                                                                                                                         Total:              $7,056.48    Total:              $5,905.00



  89             255          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $30,566.20    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $23,815.00
                                                                                                                                         Total:             $30,566.20    Total:             $23,815.00



  90             245          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $38,748.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $33,600.00
                                                                                                                                         Total:             $38,748.00    Total:             $33,600.00



  91             289          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $95,652.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $79,200.00
                                                                                                                                         Total:             $95,652.00    Total:             $79,200.00



  92             292          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,808.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,808.00    Total:              $4,800.00




                                                                                                                                                                         Page 13 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 20 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
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   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  93             249          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $16,071.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $13,200.00
                                                                                                                                         Total:             $16,071.00    Total:             $13,200.00



  94             257          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $15,724.50    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $13,200.00
                                                                                                                                         Total:             $15,724.50    Total:             $13,200.00



  95             271          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:            $7,632.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,200.00
                                                                                                                                         Total:              $7,632.00    Total:              $7,200.00



  96             284          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $44,489.84    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $34,718.75
                                                                                                                                         Total:             $44,489.84    Total:             $34,718.75



  97             288          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $18,925.50    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,500.00
                                                                                                                                         Total:             $18,925.50    Total:             $16,500.00



  98             294          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $42,847.63    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $36,125.00
                                                                                                                                         Total:             $42,847.63    Total:             $36,125.00



  99             308          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:           $16,755.75    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,850.00
                                                                                                                                         Total:             $16,755.75    Total:             $14,850.00



  100            324          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:              $681.00    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $600.00
                                                                                                                                         Total:                $681.00    Total:               $600.00




                                                                                                                                                                         Page 14 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 21 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
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   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  101            330          Peak Credit LLC                                     Tug Jane A. Bouchard Corporation                       Secured:              $209.00    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $200.00
                                                                                                                                         Total:                $209.00    Total:               $200.00



  102            247          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:           $17,856.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,400.00
                                                                                                                                         Total:             $17,856.00    Total:             $14,400.00



  103            287          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $23,831.83    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $19,275.46
                                                                                                                                         Total:             $23,831.83    Total:             $19,275.46



  104            295          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:            $5,664.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,800.00
                                                                                                                                         Total:              $5,664.00    Total:              $4,800.00



  105            506          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:          $242,695.32    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $174,300.00
                                                                                                                                         Total:            $242,695.32    Total:           $174,300.00



  106            515          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:           $40,101.12    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $28,800.00
                                                                                                                                         Total:             $40,101.12    Total:             $28,800.00



  107            248          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:          $263,753.25    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $211,650.00
                                                                                                                                         Total:            $263,753.25    Total:           $211,650.00



  108            285          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $32,183.25    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $24,900.00
                                                                                                                                         Total:             $32,183.25    Total:             $24,900.00




                                                                                                                                                                         Page 15 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 22 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                 Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  109            290          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:          $309,320.25    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $249,000.00
                                                                                                                                         Total:            $309,320.25    Total:           $249,000.00



  110            296          Peak Credit LLC                                     B No. 252 Corp.                                        Secured:           $66,655.50    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $54,600.00
                                                                                                                                         Total:             $66,655.50    Total:             $54,600.00



  111            309          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:           $41,952.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $33,600.00
                                                                                                                                         Total:             $41,952.00    Total:             $33,600.00



  112            366          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:            $9,761.21    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,871.94
                                                                                                                                         Total:              $9,761.21    Total:              $7,871.94



  113            367          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:            $4,893.12    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $3,852.85
                                                                                                                                         Total:              $4,893.12    Total:              $3,852.85



  114            382          Peak Credit LLC                                     Tug Evening Breeze Corp.                               Secured:            $9,758.24    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $7,880.53
                                                                                                                                         Total:              $9,758.24    Total:              $7,880.53



  115            384          Peak Credit LLC                                     Tug Evening Star Corp.                                 Secured:           $22,984.21    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $19,478.14
                                                                                                                                         Total:             $22,984.21    Total:             $19,478.14



  116            387          Peak Credit LLC                                     Tug Kim M. Bouchard Corp.                              Secured:               $18.70    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:             $15.08
                                                                                                                                         Total:                 $18.70    Total:                 $15.08




                                                                                                                                                                         Page 16 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 23 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                 Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  117            250          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:            $5,445.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $4,500.00
                                                                                                                                         Total:              $5,445.00    Total:              $4,500.00



  118            258          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:           $10,620.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $9,000.00
                                                                                                                                         Total:             $10,620.00    Total:              $9,000.00



  119            316          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:           $30,915.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $27,000.00
                                                                                                                                         Total:             $30,915.00    Total:             $27,000.00



  120            395          Peak Credit LLC                                     Tug Morton S. Bouchard IV Corporation                  Secured:            $6,385.90    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $6,042.90
                                                                                                                                         Total:              $6,385.90    Total:              $6,042.90



  121            306          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:          $124,339.21    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $99,214.95
                                                                                                                                         Total:            $124,339.21    Total:             $99,214.95



  122            305          Peak Credit LLC                                     B No. 260 Corporation                                  Secured:          $271,254.86    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:       $218,019.00
                                                                                                                                         Total:            $271,254.86    Total:           $218,019.00



  123            370          Peak Credit LLC                                     B No. 270 Corp.                                        Secured:           $31,069.95    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $20,293.64
                                                                                                                                         Total:             $31,069.95    Total:             $20,293.64



  124            374          Peak Credit LLC                                     B. No. 295 Corp.                                       Secured:           $73,395.98    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $50,807.80
                                                                                                                                         Total:             $73,395.98    Total:             $50,807.80




                                                                                                                                                                         Page 17 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 24 of 33




                                                                                                                                                                                                                                                                            In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                           Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                   Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                         Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  125            377          Peak Credit LLC                                     Tug Bouchard Girls Corp.                               Secured:            $4,231.71    Secured:                 $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                   $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:                $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $2,758.23
                                                                                                                                         Total:              $4,231.71    Total:               $2,758.23



  126            379          Peak Credit LLC                                     Tug Danielle M. Bouchard Corporation                   Secured:           $24,039.68    Secured:                $0.00     Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                      Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,376.93
                                                                                                                                         Total:             $24,039.68    Total:             $14,376.93



  127            391          Peak Credit LLC                                     Bouchard Transportation Co., Inc.                      Secured:           $46,119.19    Tug Bouchard Girls Corp.          Claim to be reclassified.        The claims (other than those listed as “Secured” in the “Modified Status” column) are
                                                                                                                                         Admin:                  $0.00    Secured:                 $0.00                                     general unsecured deficiency claims by operation of section 506 of the Bankruptcy
                                                                                                                                         Priority:               $0.00    Admin:                   $0.00                                     Code.
                                                                                                                                         Unsecured:              $0.00    Priority:                $0.00
                                                                                                                                         Total:             $46,119.19    Unsecured:            $108.75
                                                                                                                                                                          Total:                $108.75

                                                                                                                                                                          Tug Evening Star Corp.
                                                                                                                                                                          Secured:                $0.00
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:         $12,000.00
                                                                                                                                                                          Total:             $12,000.00

                                                                                                                                                                          B No. 272 Corp.
                                                                                                                                                                          Secured:             $1,505.00
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:               $1,505.00

                                                                                                                                                                          Tug Frederick E. Bouchard Corp.
                                                                                                                                                                          Secured:             $8,593.16
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:               $8,593.16

                                                                                                                                                                          B. No. 240 Corp.
                                                                                                                                                                          Secured:           $11,540.70
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:              $0.00
                                                                                                                                                                          Total:             $11,540.70

                                                                                                                                                                          Tug Ellen S. Bouchard Corp.
                                                                                                                                                                          Secured:                $25.00
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:                  $25.00




                                                                                                                                                                         Page 18 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 25 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
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   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  128            448          Peak Credit LLC                                     Tug Evening Breeze Corp.                               Secured:            $9,176.55    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $8,003.28
                                                                                                                                         Total:              $9,176.55    Total:              $8,003.28



  129            463          Peak Credit LLC                                     B No. 210 Corporation                                  Secured:            $8,250.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $8,250.00
                                                                                                                                         Total:              $8,250.00    Total:              $8,250.00



  130            471          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:            $9,389.54    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $9,389.54
                                                                                                                                         Total:              $9,389.54    Total:              $9,389.54



  131            443          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:           $33,951.85    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $33,951.85
                                                                                                                                         Total:             $33,951.85    Total:             $33,951.85



  132            489          Peak Credit LLC                                     B No. 242 Corporation                                  Secured:            $3,800.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $3,800.00
                                                                                                                                         Total:              $3,800.00    Total:              $3,800.00



  133            442          Peak Credit LLC                                     B No. 245 Corporation                                  Secured:              $318.00    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $318.00
                                                                                                                                         Total:                $318.00    Total:               $318.00



  134            491          Peak Credit LLC                                     B No. 250 Corporation                                  Secured:           $14,750.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $14,750.00
                                                                                                                                         Total:             $14,750.00    Total:             $14,750.00



  135            492          Peak Credit LLC                                     B No. 262 Corporation                                  Secured:            $3,800.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $3,800.00
                                                                                                                                         Total:              $3,800.00    Total:              $3,800.00




                                                                                                                                                                         Page 19 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 26 of 33




                                                                                                                                                                                                                                                                          In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                         Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit B

                                                                                                                                                      Misclassified Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                 Basis for Objection: See Paragraph 16 and 17 of the foregoing Objection.
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   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                       Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  136            439          Peak Credit LLC                                     Tug Bouchard Girls Corp.                               Secured:           $16,652.45    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $16,652.45
                                                                                                                                         Total:             $16,652.45    Total:             $16,652.45



  137            437          Peak Credit LLC                                     Tug Danielle M. Bouchard Corporation                   Secured:            $3,547.75    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $3,547.75
                                                                                                                                         Total:              $3,547.75    Total:              $3,547.75



  138            342          Peak Credit LLC                                     Tug Evening Breeze Corp.                               Secured:            $6,272.00    Secured:                $0.00   Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                    Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $6,272.00
                                                                                                                                         Total:              $6,272.00    Total:              $6,272.00



  139            397          Peak Credit LLC                                     Tug Kim M. Bouchard Corp.                              Secured:              $738.90    Secured:               $0.00    Claim to be reclassified.        The claim is a general unsecured deficiency claim by operation of section 506 of the
                                                                                                                                         Admin:                  $0.00    Admin:                 $0.00                                     Bankruptcy Code.
                                                                                                                                         Priority:               $0.00    Priority:              $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:           $738.90
                                                                                                                                         Total:                $738.90    Total:               $738.90




                                                                                                                                                Claim Status                    Modified Status
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                         Secured:        $3,097,474.15    Secured:           $21,663.86
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:      $2,534,230.51
                                                                                                                                         Total:          $3,097,474.15    Total:          $2,555,894.37




                                                                                                                                                                         Page 20 of 24
Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 27 of 33




                               Exhibit C

                   Fully or Partially Satisfied Claims
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 28 of 33




                                                                                                                                                                                                                                                                         In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                        Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit C

                                                                                                                                     Fully or Partially Satisfied Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                Basis for Objection: See Paragraph 18 and 19 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                      Proposed Treatment                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  140            504          507 Summit LLC                                      B No. 215 Corporation                                  Secured:              $174.33    Secured:                $0.00   Claim to be disallowed.         The filed Claim Amount has been satisfied by Credit Note application on 1/22/2019.
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:              $0.00
                                                                                                                                         Total:                $174.33    Total:                  $0.00



  141            448          Peak Credit LLC                                     Tug Evening Breeze Corp.                               Secured:            $9,176.55    Secured:                $0.00   Claim amount to be reduced.     The filed Claim Amount has been partially satisfied by wire transfers on 6/23/2020.
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $8,003.28
                                                                                                                                         Total:              $9,176.55    Total:              $8,003.28




                                                                                                                                                Claim Status                    Modified Status
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                         Secured:            $9,350.88    Secured:                $0.00
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:          $8,003.28
                                                                                                                                         Total:              $9,350.88    Total:              $8,003.28




                                                                                                                                                                         Page 21 of 24
Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 29 of 33




                             Exhibit D

                          Duplicate Claim
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 30 of 33




                                                                                                                                                                                                                                                                            In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                           Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit D

                                                                                                                                                            Duplicate Claim
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                   Basis for Objection: See Paragraph 20 and 21 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                Proposed    Surviving Claim                                   Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified         Treatment     Number(s)
                                                                                                                                                                              Upon Entry of Order)

  142            331          Peak Credit LLC                                     B No. 215 Corporation                                  Secured:            $5,905.00    Secured:                $0.00   Claim to be           254          Proof of Claim is duplicative of the claim(s) listed under "Surviving Claim Number(s).
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00   disallowed.
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:              $0.00
                                                                                                                                         Total:              $5,905.00    Total:                  $0.00




                                                                                                                                                Claim Status                    Modified Status
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                         Secured:            $5,905.00    Secured:                $0.00
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:              $0.00
                                                                                                                                         Total:              $5,905.00    Total:                  $0.00




                                                                                                                                                                         Page 22 of 24
Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 31 of 33




                             Exhibit E

                         No Liability Claims
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 32 of 33




                                                                                                                                                                                                                                                                                      In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                                                                     Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit E

                                                                                                                                                        No Liability Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                                                             Basis for Objection: See Paragraph 22 and 23 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status                        Proposed Treatment                                              Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

  143            508          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:          $125,101.57    Secured:                $0.00    Claim to be disallowed.                    The Plan Administrator has reviewed the Debtors' books and records and the claim.
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                               After a review of the books and records and the claim, the Plan Administrator does not
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                               believe they have liability on the claim. Additionally, the claim does not attach sufficient
                                                                                                                                         Unsecured:              $0.00    Unsecured:              $0.00                                               information or documentation to show otherwise.
                                                                                                                                         Total:            $125,101.57    Total:                  $0.00



  144            514          Peak Credit LLC                                     B No. 225 Corporation                                  Secured:           $46,784.64    Secured:                $0.00    Claim to be disallowed.                    The Plan Administrator has reviewed the Debtors' books and records and the claim.
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00                                               After a review of the books and records and the claim, the Plan Administrator does not
                                                                                                                                         Priority:               $0.00    Priority:               $0.00                                               believe they have liability on the claim. Additionally, the claim does not attach sufficient
                                                                                                                                         Unsecured:              $0.00    Unsecured:              $0.00                                               information or documentation to show otherwise.
                                                                                                                                         Total:             $46,784.64    Total:                  $0.00



  145            391          Peak Credit LLC                                     Bouchard Transportation Co., Inc.                      Secured:           $46,119.19    Tug Bouchard Girls Corp.         Claim to be modified as set forth in the   Bouchard Transportation Co., Inc. is not liable for the asserted claim. As an asserted
                                                                                                                                         Admin:                  $0.00    Secured:                 $0.00   “Modified Status” column to reflect the    claim for necessaries pursuant to 46 U.S.C. § 31342, the appropriate debtor is the
                                                                                                                                         Priority:               $0.00    Admin:                   $0.00   appropriate Debtor entity.                 Debtor entity that owns the vessel subject to the claimant’s asserted maritime lien claim.
                                                                                                                                         Unsecured:              $0.00    Priority:                $0.00
                                                                                                                                         Total:             $46,119.19    Unsecured:            $108.75
                                                                                                                                                                          Total:                $108.75

                                                                                                                                                                          Tug Evening Star Corp.
                                                                                                                                                                          Secured:                $0.00
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:         $12,000.00
                                                                                                                                                                          Total:             $12,000.00

                                                                                                                                                                          B No. 272 Corp.
                                                                                                                                                                          Secured:            $1,505.00
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:              $0.00
                                                                                                                                                                          Total:              $1,505.00




                                                                                                                                                                         Page 23 of 24
                                                                                                                                   Case 20-34758 Document 12-1 Filed in TXSB on 10/08/21 Page 33 of 33




                                                                                                                                                                                                                                             In re: Bouchard Transportation Co., Inc., et al.
                                                                                                                                                                                                                                            Case No. 20-24682 (DRJ) (Jointly Administered)



                                                                                                                                                                         Exhibit E

                                                                                                                                                        No Liability Claims
Note: The claims listed on Exhibits A-E may be included on more than one exhibit. The Modified Status column reflects the sum                                                                                                    Basis for Objection: See Paragraph 22 and 23 of the foregoing Objection.
total effect of all modifications for exhibits where the claim is included rather than the effect of one individual basis per exhibit.

   #      Claim Number                       Name of Claimant                                           Debtor                                 Claim Amount                     Modified Status             Proposed Treatment                Basis for Modification
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                                                          Tug Frederick E. Bouchard Corp.
                                                                                                                                                                          Secured:             $8,593.16
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:               $8,593.16

                                                                                                                                                                          B. No. 240 Corp.
                                                                                                                                                                          Secured:           $11,540.70
                                                                                                                                                                          Admin:                  $0.00
                                                                                                                                                                          Priority:               $0.00
                                                                                                                                                                          Unsecured:              $0.00
                                                                                                                                                                          Total:             $11,540.70

                                                                                                                                                                          Tug Ellen S. Bouchard Corp.
                                                                                                                                                                          Secured:                $25.00
                                                                                                                                                                          Admin:                   $0.00
                                                                                                                                                                          Priority:                $0.00
                                                                                                                                                                          Unsecured:               $0.00
                                                                                                                                                                          Total:                  $25.00




                                                                                                                                                Claim Status                    Modified Status
                                                                                                                                           (Proof of Claim as Filed)       (Proof of Claim as Modified
                                                                                                                                                                              Upon Entry of Order)

                                                                                                                                         Secured:          $218,005.40    Secured:           $21,663.86
                                                                                                                                         Admin:                  $0.00    Admin:                  $0.00
                                                                                                                                         Priority:               $0.00    Priority:               $0.00
                                                                                                                                         Unsecured:              $0.00    Unsecured:         $12,108.75
                                                                                                                                         Total:            $218,005.40    Total:             $33,772.61




                                                                                                                                                                         Page 24 of 24
